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9

10                          UNITED STATES DISTRICT COURT
11                 FOR THE CENTRAL DISTRICT OF CALIFORNIA

12    JENNY LISETTE FLORES; et al.,         Case No. CV 85-4544-DMG

13            Plaintiffs,
14
                                        JOINT STATUS REPORT RE MOTION
                   v.                   TO LIFT RESTRICTIONS IN PARAGRAPH
15                                      4.E OF THE JUNE 26, 2020 ORDER, ECF
16
      WILLIAM P. BARR, Attorney General NO. 833
      of the United States; et al.,
17                                      Requested Hearing: November 13, 2020
                                        9:30 AM
18            Defendants.
19                                          [HON. DOLLY M. GEE]
20

21

22

23    ///
24

25

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1

2     Plaintiffs’ counsel continued:

3

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1     I.    INTRODUCTION
2           In its Order Re Updated Juvenile Coordinator Reports [Doc # 833] filed
3     June 26, 2020 (“June 26, 2020, Order”), the Court ordered that “None of these
4     minors [B.B.B., A.F.P.P., and K.J.A.B ] who age out shall be sent to an adult
5     detention facility pending resolution of [the] inquiry” regarding ICE’s compliance
6     with the FSA at the Cowlitz County Juvenile Detention Center (“Cowlitz”) and
7     Northern Oregon Regional Corrections (“NORCOR”) detention facilities.

8
            Pursuant to the Court’s June 26, 2020, Order, on July 24,2020, the ICE
      Juvenile Coordinator filed her Interim Report (“ICE Report”) [Doc. # 882-1]
9
      providing background information on the three class members detained at Cowlitz
10
      and NORCOR.
11
            On October 16, 2020, Defendants filed their Motion seeking to vacate
12
      Paragraph 4e of the Court’s June 26, 2020, Order.
13
            At the October 23, 2020, Status Conference, the Court stated that paragraph
14
      4e of its June 26, 2020, Order was only intended to prevent the transfer of Class
15
      Members B.B.B., A.F.P.P., and K.J.A.B, not all Class Members who may be
16
      detained by Defendants in secure facilities, and asked Defendants to consider
17    whether they wished to pursue their motion which appears to interpret the Court’s
18    June 26, 2020, Order as applying to all Class Members detained in secure facilities
19    in light of this clarification. Defendants’ counsel stated that Defendants would
20    consider the Court’s clarification of the scope of the June 26, 2020, Order. After
21    considering the Court’s clarification, Defendants decided not to withdraw their
22    motion.
23          On November 4, 2020, Plaintiffs filed an ex parte Application

24
      (“Application”) requesting that the Court accept their late-filed Opposition to
      Defendants’ Motion to Lift Restrictions In Paragraph 4.e of the June 26, 2020
25
      Order [Doc. # 1006] set for hearing on November 13, 2020, and order the parties to
26
      meet and confer and report to the Court by November 10, 2020. [Doc. # 1016.]

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1           Given the need to resolve this matter promptly, the Court granted Plaintiffs’
2     Application and Ordered that: (1) The Court will accept Plaintiffs’ late-filed
3     Opposition [Doc. # 1017]; (2) Defendants to file a Reply to Plaintiffs’ Opposition
4     on or before November 9, 2020; (3) the parties to meet and confer regarding
5     Defendants’ pending motion “and the topics Plaintiffs raised in their Application,”
6     and file a Joint Status Report by November 10, 2020; and (4) Defendants’ motion
7     will thereafter be taken under submission.

8
            As Ordered by the Court, the parties met and conferred today and now
      provide this Joint Status Report.
9
            II.    PLAINTIFFS’ POSITION
10
            Plaintiffs have provided Defendants with correspondence a copy of which is
11
      attached as Exhibit A. Among other matters raised in the correspondence, Plaintiffs
12
      provide a link to a video of the fight in which BBB was involved four years ago
13
      when he was fourteen that resulted in ICE detaining BBB with no bond. As noted
14
      in the attached correspondence, rather than BBB being involved with an
15
      “attempted murder” as ICE argued to prevent BBB’s release when he appeared
16
      before an Immigration Judge in a 2018 bond hearing, the video shows a brief fight
17    in which BBB never punches or kicks or injures the victim who is pushed to the
18    ground by BBB’s brother, kicked and punched a few times, and quickly gets up
19    and walks away seemingly uninjured.1
20          Regarding the topics raised in Plaintiffs’ ex parte application, Defendants
21    have informed Plaintiffs as follows:
22          • How Defendants may comply with the June 26, 2020 Order if it is not
23    vacated, including whether a modification of the Order should be considered.

24

25
      1
       The Court may view the video using the link in the correspondence filed
26
      herewith. BBB is the minor dressed in black pants and black shoes. His brother
      who actually commits the assault is wearing white shoes.
                                                2
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1           Defendants have advised Plaintiffs that if the Court’s June 26, 2020 Order is
2     not vacated, Class Member BBB will be released from ICE custody.
3           • The extent to which Defendants have complied or will comply with the
4     FSA including to assess BBB’s current likelihood to appear at future proceedings
5     or his dangerousness.
6           Defendants have advised Plaintiffs that the assessments regarding BBB’s
7     current likelihood to appear at future proceedings or his dangerousness were

8
      assessed by his deportation officer, not a District Director as required by the FSA.
            • The extent to which BBB or his mother have been informed of his FSA
9
      rights by Defendants.
10
            Defendants’ counsel advised Plaintiffs’ counsel that other than the exhibits
11
      submitted with Defendants’ reply brief, Defendants’ counsel is not in possession of
12
      any further information regarding whether BBB’s mother was ever advised of
13
      BBB’s FSA rights.
14
            • The extent to which BBB’s potential sponsor’s suitability has been
15
      assessed by Defendants;
16
            Defendants’ counsel advised Plaintiffs’ counsel that other than the exhibits
17    submitted with Defendants’ reply brief, Defendants’ counsel is not in possession of
18    any further information regarding whether or the extent to which BBB’s potential
19    sponsor’s suitability has been assessed by Defendants.
20          • Whether the suitability of a sponsor has been considered when assessing
21    BBB’s likelihood to appear at future proceedings or dangerousness.
22          Defendants’ counsel advised Plaintiffs’ counsel that other than the exhibits
23    submitted with Defendants’ reply brief, Defendants’ counsel is not in possession of

24
      any further information regarding whether the suitability of a sponsor has been
      considered when assessing BBB’s likelihood to appear at future proceedings or
25
      dangerousness.
26




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1            Plaintiffs have provided Defendants with a declaration by Francis Guzman
2     dated November 9, 2020, and his curriculum vitae.2 Mr. Guzman serves as the
3     Director of the Youth Justice Initiative at the National Center for Youth Law and is
4     an expert on youthful offenders. As his detailed declaration states, he has been
5     counseling and mentoring BBB for some time on a weekly basis, does not believe
6     BBB will engage in criminal activity if released, and is willing to continue
7     counseling BBB on a weekly basis if he is released. Specifically, his support will

8
      include, but is not limited to, the following:

9
          • Weekly Check-ins: continue to meet for an hour weekly with BBB via Zoom
             conferencing …;
10
          • Re-entry Support Services: upon release, provide BBB with assistance in
11
             identifying pro-social activities, re-entry support services, and other
12
             opportunities and supports in his area; and
13
          • Mentorship and Guidance: serve as life coach to BBB, providing him with
14
             emotional support, advice, counseling, and assistance with overcoming
15
             challenges and navigating unfamiliar environments, including remaining
16
             available 24-hours a day.
17           It is also worth noting that other factors mitigate against BBB’s
18    dangerousness and/or in favor of release:
19        • BBB’s mother is now married to a U.S. citizen and has a stable living
20           situation and would like BBB to live with her and her husband. Declaration
21           of BBB’s mother, Exhibit B. [Doc. # 1018]; Declaration of Paloma Norris-
22           York attached to Exhibit A filed herewith at ¶ 7; see also Declaration of

23
             Paloma Norris-York, Exhibit 1, ¶ 7 [Doc. # 1017-1];

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25
      2
       This declaration was received today by Plaintiffs’ counsel and was shared with
26
      Defendants’ counsel when Plaintiffs forwarded a draft of this Joint Status Report to
      Defendants’ counsel.
                                                  4
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1        • BBB may also reside with a sponsor family residing in the State of
2           Washington. See Declaration of Paloma Norris-York attached to Exhibit A
3           at ¶ 9; see also Declaration of Paloma Norris-York, Exhibit 1, ¶ 9 [Doc. #
4           1017-1]; Declarations of Patricia Fink, Exhibits F and G. [Doc.# 1018.]
5        • BBB’s older brother with whom he was involved with the fight several years
6           ago has left the country. Psychiatric Evaluation, Exhibit H at 7. [Doc. #
7           1018]. This evaluation also concludes BBB is unlikely to reoffend if

8
            released. Id. at 14-19.
         • Another older brother lives close to the mother’s house and is married with
9
            three children and is ready to support BBB in any way needed and has also
10
            offered that BBB may reside with him. Declaration of BBB’s brother,
11
            Exhibit C. [Doc. # 1018]
12
         • BBB is facing indefinite detention because USCIS is not scheduling any
13
            asylum interviews and his deportation hearing is postponed until he has had
14
            an asylum interview and USCIS has made a preliminary determination
15
            whether he should be granted asylum.
16
      See Exhibit A at 3.
17          Finally, Plaintiffs have proposed ICE consider release of BBB with
18    conditions:
19       1. To address any concerns that BBB may be a flight risk, release him with a
20          GPS ankle bracelet as ICE routinely does when detainees are released;
21       2. Require that for three months following release BBB continue with weekly
22          counseling conferences with Mr. Francis Guzman, as Mr. Guzman offers in
23          his sworn declaration;

24
         3. Require that upon release BBB reside with his mother and inform ICE of
            any proposed change of address;
25
         4. Require that for three months following release BBB attend weekly psycho-
26
            therapy sessions with a qualified therapist who will be instructed by Class

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1            Counsel to notify wither Class Counsel and/or ICE should BBB fail to
2            appear for any scheduled therapy session.
3     See Exhibit A filed herewith.
4     III.   DEFENDANTS’ POSITION
5            Defendants believe that the Court should proceed to rule on their pending
6     motion and lift the transfer restriction. As explained in Defendants’ Reply, Plaintiffs
7     failed to raise these issues in a manner that is timely or in accordance with the

8
      applicable rules of procedure, and Plaintiffs are asking this Court to weigh in on
      matters that are outside the Court’s jurisdiction. The issues Plaintiffs raise in their
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      opposition and in conjunction with this joint report are not the subject of any pending
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      motion before this Court and provide no basis for this Court to deny Defendants’
11
      motion.
12
             In any event, Defendants dispute to some extent the characterizations of their
13
      meet and confer positions as described above by Plaintiffs and clarify their positions
14
      as follows:
15
             1)     Defendants explained that if the Court does not lift the transfer
16
      restriction, then, as explained in Defendants’ motion, it is likely that B.B.B. would
17    have to be released from custody because he cannot be detained at a juvenile facility
18    after he turns 18.
19           2)     On all of the remaining issues, Counsel for Defendants explained to
20    counsel for Plaintiffs that responsive information to these questions might be
21    contained in the Exhibits to Defendants’ Reply, but that as a general matter it is
22    Defendants’ position that these questions are not relevant to any requirements
23    contained in the Flores Settlement Agreement or to the pending motion. Counsel for

24
      Defendants did not have any more specific information in response to Plaintiffs’
      questions to provide on the call without consulting further with her clients. To the
25
      extent Plaintiffs’ position above suggests that Defendants provided more specific
26
      factual responses to some of these questions, this is incorrect.

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1           Counsel for Defendants did agree that Plaintiffs’ counsel could provide any
2     additional information that he would like ICE to review in conjunction with B.B.B.,
3     and Defendants’ counsel would pass that along to her clients. But, Defendants’
4     counsel made clear that this is a courtesy only, and that Defendants continue to seek
5     resolution of their motion by this Court, and believe that Plaintiffs are asking this
6     Court to rule on issues that are outside of, and unrelated to, the Flores Settlement
7     Agreement. Plaintiffs’ counsel provided the document attached to this report to

8
      Defendants’ counsel at 7pm Eastern, at the same time he circulated a draft of this
      report for review. At the time of that Defendants’ position in this report is being
9
      drafted, Defendants have not yet reviewed the attached submission and so are unable
10
      to speak to its contents.
11

12

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14
                                              Respectfully submitted,
15
      Dated: November 10, 2020                /s/ Peter Schey
16
                                              Peter A. Schey
17                                            CENTER FOR HUMAN RIGHTS &
                                              CONSTITUTIONAL LAW
18
                                              Counsel for Plaintiffs
19

20
                                              JEFFREY BOSSERT CLARK
21                                            Acting Assistant Attorney General
                                              Civil Division
22

23                                            WILLIAM C. PEACHEY
                                              Director, District Court Section
24
                                              Office of Immigration Litigation
25
                                              WILLIAM C. SILVIS
26                                            Assistant Director, District Court Section
                                              Office of Immigration Litigation

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1

2                                       /s/ Sarah B. Fabian
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9

10
                                        Attorneys for Defendants

11          ///
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2
                                 CERTIFICATE OF SERVICE
3

4           I hereby certify that on November 10, 2020, I served the foregoing pleading on
5
      all counsel of record by means of the District Clerk’s CM/ECF electronic filing
6
      system.
7

8

9
                                                   /s/ Peter Schey
                                                  Peter A. Schey
10                                                CENTER FOR HUMAN RIGHTS &
                                                  CONSTITUTIONAL LAW
11
                                                  Class Counsel for Plaintiffs
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